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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                                    PLAINTIFF

       V.                                No. 5:12-CR-50038-001


GINA MEJIA-SANCHEZ                                                         DEFENDANT

                                       ORDER

       Comes on for consideration the Report and Recommendation (Doc. 37) filed in this

case on May 16, 2014, by the Honorable Erin L. Setser, United States Magistrate for the

Western District of Arkansas. Fourteen (14) days have passed without objections being

filed by the parties.

       The Court has reviewed this case and, being well and sufficiently advised, finds as

follows: the Report and Recommendation is proper and should be and hereby is

ADOPTED IN ITS ENTIRETY. Accordingly, for the reasons stated in the Magistrate

Judge's Report and Recommendation, Defendant's pro se "Motion for Time Reduction by

an Inmate in Federal Custody" (DO~ 6) is DE

       IT IS SO ORDERED this    ~ day of '-=: I ~"': " " "=----f-J.--
